        Case 2:18-mj-00152-EFB Document 276 Filed 09/02/20 Page 1 of 2


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 7                                 UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10                                                       No. 2:18-mj-152-EFB
      IN THE MATTER OF THE
11    EXTRADITION OF OMAR
      ABDULSATAR AMEEN TO THE
12    REPUBLIC OF IRAQ                                   ORDER
13

14                                       The Current Status Report

15           After the previous status report – dated June 29, 2020 (ECF No. 269) – the court entered

16   an order setting a due date of August 28, 2020 for a status update on the progress of obtaining Mr.

17   Ameen’s cellular data from the government of Turkey. ECF No. 273. The newly filed defense

18   status report indicates that its request for the data remains pending and that the defense is

19   exploring working with a Turkish attorney to facilitate the process. ECF No. 274. In light of the

20   foregoing, the defense requests that the court set a new due date of October 28, 2020 for a further

21   status report. Id.

22                                      The Government’s Response

23           The government has filed a short opposition that simply reiterates its previous argument

24   that the Turkcell records, to the extent they exist and can be produced, would not be admissible

25   and are incapable of obliterating probable cause. ECF No. 275.

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       Case 2:18-mj-00152-EFB Document 276 Filed 09/02/20 Page 2 of 2


 1                                               Analysis
 2          The court grants the defense request to set a new status report deadline of October 28,
 3   2020. The same rationales articulated in its previous order (ECF No. 278 at 3-4) remain
 4   applicable.
 5          Accordingly, it is ORDERED that on or before October 28, 2020 the defense shall file an
 6   updated status report apprising the court of its ongoing attempts to obtain Ameen’s Turkcell
 7   records.
 8   DATED: September 1, 2020.
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